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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 BRYAN ROBERTS,
                                               Case No. 1:18-cv-05056
       Plaintiff,
 v.                                            Honorable Judge Gary Feinerman

 DIVERSIFIED CONSULTANTS, INC.,

      Defendant.


              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff , BRYAN

ROBERTS, and the Defendant, DIVERSIFIED CONSULTANTS, INC., through their respective

counsel that the above-captioned action is dismissed, with prejudice, against , DIVERSIFIED

CONSULTANTS, INC., pursuant to settlement and Federal Rule of Civil Procedure 41. Each party

shall bear its own costs and attorney fees.

Dated: February 11, 2019                          Respectfully Submitted,

BRYAN ROBERTS                                    DIVERSIFIED CONSULTANTS, INC.

/s/ Nathan C. Volheim                            /s/ Andrew E. Cunningham (with consent)
Nathan C. Volheim                                Andrew E. Cunningham
Taxiarchis Hatzidmitriadis                       Counsel for Defendant
Eric D. Coleman                                  Sessions, Fishman, Nathan & Israel, LLC
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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.



                                                              s/ Nathan C. Volheim_____
                                                              Nathan C. Volheim
